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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., DOMINION                           )
VOTING SYSTEMS, INC., and                             )
DOMINION VOTING SYSTEMS                               )
CORPORATION                                           )
c/o Cogency Global                                    )
1025 Vermont Ave, NW, Ste. 1130                       )
Washington, DC 20005,                                 )
                                                      )
           Plaintiffs,                                )
                                                      )
               v.                                     )        Case No. 1:21-cv-00445-CJN
                                                      )
MY PILLOW, INC. and                                   )
MICHAEL J. LINDELL                                    )
343 E 82nd Str #102                                   )
Chaska, MN 55318,                                     )
                                                      )
                                                      )
     Defendants.                                      )
                                                      )


 DEFENDANT MICHAEL J. LINDELL’S UNOPPOSED MOTION FOR EXCEPTION
                        TO LOCAL RULE 11.1
          COMES NOW Defendant Michael J. Lindell (“Lindell”), by and through his undersigned

attorneys, and moves for an exception to the Court’s LCvR (“Rule”) 11.1, and in support states as

follows:

1.        Rule 11.1 states, in relevant part, that “[t]he first filing by or on behalf of a party shall have

in the caption the name and full residence address of the party.”

2.        Due to the highly publicized and impassioned nature of this lawsuit and the underlying

facts, Lindell reasonably believes that publicizing his residential address would, in all likelihood,

put him at risk of imminent harm.

3.        Based on this belief, Lindell respectfully requests that he not be required to specify his

residential address in any publicly-available filings in this case, and that his office address, listed


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in the above caption, be accepted by this Court as an alternative to the requirement of Rule 11.1.

Rule 11.1’s purpose is to “facilitate service of process and effective communication between the

parties.” Yaman v. United States Dep’t of State, 786 F. Supp. 2d 148, 15 (D.D.C. 2011). Lindell’s

business address is regularly checked, and he is represented by the undersigned counsel, which

will ensure he receives any communications from the Court and other litigants.

Dated: April 26, 2021

                                             Respectfully submitted,



                                                 /s/ Trey Mayfield_
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                                             Counsel for Defendant Michael J. Lindell




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                             CERTIFICATE OF CONFERENCE

       On April 23, 2021, counsel for Lindell conferred by email with counsel for Plaintiffs in
good faith regarding this motion and the relief requested in same. Plaintiffs are unopposed to this
motion.
                                                  /s/ Heath A. Novosad_
                                             Heath A. Novosad




                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served upon
all parties of record through the Court’s CM ECF system on April 26, 2021.

                                                     /s/ Trey Mayfield
                                                     Trey Mayfield




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